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                                                             Hearing Date: March 7, 2018 at 10:00 a.m.
                                                     Objection Deadline: February 28, 2018 at 4:00 p.m.

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Attorneys for 3394 3 rd Avenue LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                 )
                                                 )
 In re:                                          )    Chapter 13
                                                 )
  LUSKY E. ABHIVA,                               )    Case No. 17-23263 (RDD)
                                                 )
                                                 )
                      Debtor.                    )
                                                 )
                                                 )

                                     NOTICE OF MOTION

               PLEASE TAKE NOTICE that annexed hereto is a true copy of a motion entitled

“MOTION OF 3394 3rd AVENUE LLC TO DISMISS CHAPTER 13 CASE PURSUANT TO

SECTION 109(e) OF THE BANKRUPTCY CODE ” (the “Motion”), which will be heard before

the Honorable Robert D. Drain, at the United States Bankruptcy Court for the Southern District

of New York, located at 300 Quarropas Street White Plains, NY 10601-4140, on March 7, 2018

at 10:00 AM.

               PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion

must be filed with the Court and served on the undersigned counsel, so as to be received no later
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than February 28, 2018 at 4:00 PM (New York).

Dated: January 14, 2018                   RAVERT PLLC
       New York, New York
                                          By: /s/ Gary O. Ravert
                                              Gary O. Ravert
                                          116 West 23rd Street, Fifth Floor
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                                                               Hearing Date: March 7, 2018 at 10:00 a.m.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                   )
                                                   )
 In re:                                            )    Chapter 13
                                                   )
  LUSKY E. ABHIVA,                                 )    Case No. 17-23263 (RDD)
                                                   )
                                                   )
                       Debtor.                     )
                                                   )
                                                   )

           MOTION OF 3394 3rd AVENUE LLC TO DISMISS CHAPTER 13 CASE
             PURSUANT TO SECTION 109(e) OF THE BANKRUPTCY CODE

TO THE HONORABLE ROBERT D. DRAIN,
UNITED STATES BANKRUPTCY JUDGE:

               3394 3rd Avenue LLC (“3394 LLC”), by and through its counsel, hereby moves

this court (the “Motion”), pursuant to section 109(e) of title 11 of the United States Code (the

“Bankruptcy Code”), for an order dismissing this chapter 13 case of the above-captioned debtor

(the “Debtor”) on the basis that the Debtor is over the chapter 13 secured debt limit. In support

hereof, 3394 LLC respectfully states as follows:

                                 PRELIMINARY STATEMENT

          1.   3394 LLC holds a final, non-appealable judgment of foreclosure and sale (the

“Judgment”) against the Debtor in the amount of no less than $342,833.11 as of August 14,

2017, the petition date in this case. A true and correct copy of the Judgment is annexed to 3394

LLC’s proof of claim designated Claim No. 5 in this case. The Judgment resulted from a

defaulted note and first lien mortgage on that certain mixed use commercial investment property
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located at 3394 3rd Avenue, Bronx, NY 10456 [Block 2608, Lot 9], one of the Debtor’s many

properties.

       2.       Pursuant to section 109(e) of the Bankruptcy Code, a person is eligible to be a

chapter 13 debtor if her secured debts are no greater than $1,184,200. The claims register in this

case reflects filed secured claims of $1,564,018.57 as of the Petition Date. In fact, the Debtor

admitted in Question 20, of Part 6 of her chapter 13 petition that she had between $1,000,000 and

$10,000,000 in debt. In Schedule D – “secured claims,” the Debtor scheduled over $1,350,000

in secured claims. These filings suggest that the Debtor knew she was ineligible for chapter 13

relief from the outset of this case. The claims register now makes that clear. Accordingly, the

Debtor exceeds the permissible debt limit and is not eligible to be a chapter 13 debtor.

Therefore, unless the Debtor converts to another chapter for which she is eligible, this case must

be dismissed.

                                 JURISDICTION AND VENUE

       3.       The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this case and this Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

       4.       The statutory predicate for this Motion is section 109(e) of the Bankruptcy Code.

                                     RELIEF REQUESTED

       5.       3394 LLC hereby seeks dismissal of this chapter 13 case pursuant to section

109(e) of the Bankruptcy Code on the basis that the Debtor is over the eligibility limit for

secured debt.

Applicable Law

       6.       Section 109(e) of the Bankruptcy Code states in relevant part:

       Only an individual with regular income that owes, on the date of the filing of the petition,
       noncontingent, liquidated, unsecured debts of less than $394,725 and noncontingent,
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       liquidated, secured debts of less than $1,184,200, or an individual with regular income
       and such individual’s spouse, except a stockbroker or a commodity broker, that owe, on
       the date of the filing of the petition, noncontingent, liquidated, unsecured debts that
       aggregate less than $394,725 and noncontingent, liquidated, secured debts of less than
       $1,184,200 may be a debtor under chapter 13 of this title.

11 U.S.C. §109(e) (with updated limits as set forth in 11 U.S.C. §104).

       7.      A true and correct copy of the claims register in this case as of January 13, 2018 is

attached hereto as Exhibit “A.” It reflects prepetition secured debt of $1,564,018.57.

Accordingly, the secured debt exceeds the statutory limit by almost $380,000. The Debtor

clearly knew this to be true on the petition date since she scheduled secured claims in excess of

the statutory limit. She admitted in Question 20 of Part 6 of her chapter 13 petition that she had

between $1,000,000 and $10,000,000 in debt. In Schedule D secured claims, she scheduled over

$1,350,000 in secured claims. The only scheduled claim checked as ‘disputed’ was the claim of

3394 LLC, whose claim is based on a final Judgment. Thus, such ‘disputed’ classification was

not made in good faith. In any event, it is now especially clear that the Debtor understated her

secured claims because the total secured claims in the case are nearly $380,000 over the limit.

Thus, the Debtor is over the limit even if one did not take into account the valid, enforceable,

final Judgment of 3394 LLC. In sum, the Debtor’s filings suggest that she knew or should have

known was ineligible for chapter 13 relief from the outset of this case. The claims register only

makes that all the more clear. Accordingly, pursuant to section 109(e), the Debtor is not eligible

to be a debtor under chapter 13 of title 11. Therefore, unless the Debtor converts to another

chapter where she is eligible, this case must be dismissed.

                                              NOTICE

       8.      Notice of this motion has been provided to (a) the Debtor, (b) Debtor’s counsel,

(c) the Office of the United States Trustee, (d) the chapter 13 trustee, (e) those creditors who are

identified in the Debtor’s schedules, and (f) those non-moving parties who have filed a notice of


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appearance in this case, if any. 3394 LLC asserts that such notice is reasonable and no further

notice is required.

                                     NO PRIOR REQUEST

       9.      No prior request for the relief sought in this Motion has been made to this or any

other Court.

               WHEREFORE, for all of the reasons stated herein, 3394 LLC respectfully

requests that this Court grant this Motion dismiss this case and grant 3394 LLC such other and

further relief as the Court deems just and proper under the circumstances.

Dated: January 14, 2018                      RAVERT PLLC
       New York, New York
                                             By: /s/ Gary O. Ravert
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